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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 In Re:                                            Case No. 18-03772-RLM-13

 Carrie Vesta Jeffers                              Chapter 13

 Debtor.                                           Judge Robyn L. Moberly

                                  CERTIFICATE OF SERVICE

I certify that on February 1, 2022, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Juan A. Perez, Jr., Debtor’s Counsel
          jay@perezlawindiana.com

          John Morgan Hauber, Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on February 1, 2022, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Carrie Vesta Jeffers, Debtor
          843 Harding St.
          Plainfield, IN 46168

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   394 Wards Corner Road, Suite 180
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor
